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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                     MONROE DIVISION


 CHILDREN’S HEALTH DEFENSE,           CASE NO. 3:23-cv-00720
 TRIALSITE, INC., CREATIVE
 DESTRUCTION
 MEDIA, LLC, ERIN ELIZABETH FINN,
 JIM HOFT, DR. BEN TAPPER, BEN SWANN,
 DR. JOSEPH MERCOLA, TY BOLLINGER,
 CHARLENE BOLLINGER, AND JEFF
 CROUERE

 VERSUS                                             JUDGE TERRY A. DOUGHTY

 WP COMPANY, LLC (D/B/A THE         MAG. JUDGE KAYLA D. MCCLUSKY
 WASHINGTON POST), THE BRITISH
 BROADCASTING CORP., THE ASSOCIATED
 PRESS, AND REUTERS NEWS & MEDIA,
 INC.



                                            ORDER

         Upon consideration,

         IT IS ORDERED that the Motion for Leave to File Brief of Amici Curiae of the State of

 Louisiana in support of the Plaintiffs [Doc. No. 56] is GRANTED.

         THEREFORE, the clerk is requested to file the State of Louisiana’s Brief [Doc. No. 56-

 1] into the record of this matter.

         MONROE, LOUISIANA, this 30th day of August, 2023.



                                            __________________________________________
                                             TERRY A. DOUGHTY
                                             UNITED STATES DISTRICT JUDGE
